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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS,                    CIVIL ACTION ACTION

           PLAINTIFF,
                                      CASE NO.: 05-1812 (RBW)
           v.

HARLEY G. LAPPIN, DIRECTOR
FEDERAL BUREAU OF PRISONS,
          DEFENDANTS


                        DECLARATION OF LEEANN TUFTE


     I, the undersigned, LeeAnn Tufte, do hereby make the

following unsworn declaration, pertinent to the above-styled and

numbered cause.



1.   I am a Paralegal Specialist for the Federal Bureau of Prisons

     (BOP),     I   am physically located in Kansas City,      Kansas.    In

     this position, my responsibilities include coordinating and

     processing Freedom of Information Act/Privacy Act             (FOIA/PAl

     requests.       I have access to records maintained by the BOP in.

     the   normal      course   of   business   concerning    requests   for

     documents through FOIA/PA.        I am familiar with the storage and

     location of various file repositories maintained by the North

     Central Regional Counsel's Office.           I am also familiar with

     the   search conducted on the        PLN's request,     Request· *2003­

     08557, and I was personally involved in the search for records

     responsive to this request.         This declaration supplements my

     prior declaration dated October 7, 2008.
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2.   In searching for    responsive records         I    understood that the

     request, #2003-08557, sought copies of all documents showing

     all money paid by the Bureau of Prisons                 for   lawsuits and

     claims against it from the dates of January 1, 1996, through

     and including July 31,     2003.       In September of 2006,         I was

     contacted by Wilson Moorer to search for records in response

     to this request.



3.   The responsive records maintained in the North Central Region

     (NCR) include Federal Tort Claim Act (FTCA) records and civil

     litigation records.    All responsive records maintained by the

     NCR are   controlled by this         office.       No   other   records as

     described in paragraph two are maintained by this office.



4.   The only means of creating an accurate and complete list of

     responsive records maintained in the NCR, was to review the

     FTCA databases for all paid claims between January 1, 1996,

     through July 31, 2003, and review the NCR Monthly Reports for

     this time period.



5.   I conducted this review by determining what responsive FTCA

     records existed, for this request.         I requested an electronic

     search of the FTCA database for any claims that were paid


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during the described time period.               This entailed a search of

two databases.      First, the "LAWPACK" database covered the time

period    for    October,   2000,     through,     the   July   31,    2003.

Second,    for   records prior to October of 2000,              the "dBase"

system was searched for the requested information.'                   A query

was run in LAWPACK by identifying only those FTCA claims that

had an amount awarded for payment.                It was then narrowed to

exclude inmate property claims.               A query was run in dBase by

identifying only those FTCA claims that were greater than $0

in the amount paid.         The two search lists produced all FTCA

claims that were paid by the NCR for the specific time period.

It was then narrowed to exclude inmate property claims.                   This

narrowing was done by reviewing the databases for each FTCA

claim and identifying each specific claimant as either inmate,

staff or civilian.      All FTCA claims with inmate claimants were

excluded from the search.                 The search reports provided the

FTCA number, name, register number, amount paid, closed date,

institution, and the type of claim.              All of the FTCA files for

this time period were either stored at the NCR file room or

the Federal Records Center (FRC).               No copies of the claim or

payment records were maintained in the database, thus we had

to retrieve all hard paper files for each claim.                       For the

time    period    in question these          records   were   kept    in paper


I   dBase was the database used by the BOP prior to LAWPACK.

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format.      The paper version is currently and for the time

period in question,             the official BOP record.              In order to

determine what records existed in response to civil litigation

records responsive to this request, it was more difficult to

identify     as    no   electronic         databases    were    maintained       for

litigation files in the North Central Region.                         I determined

that the only documents which would identify any litigation

cases     that were     awarded a      settlement or verdict                awarding

payment    was    to    review the monthly          reports.          The monthly

reports     contained       a     section     for   reporting         any    adverse

decisions of settlements or judgment awards.                           The monthly

reports in the Regional Counsel's office are maintained in

hard    paper     format.        A hard     bound binder        for    each    year,

containing twelve monthly reports, are maintained in the NCR

file    room.     Each binder for 1996-2002,              and the subsequent

twelve monthly reports located in those binders, were reviewed

for any cases listed as adverse decision or settlement/verdict

awarded.        The 2003 binder and monthly reports were searched

for the months of January, through July.                 Review by myself and

other staff members in the office, concluded that fifty-one

(51)    cases were listed in the monthly reports that could

possibly be responsive.             Based on the generated search report

in     LAWPACK,    ninety-eight       (98)     claims    were    identified       as

responsive.        Based on the generated search report in dBase,


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nineteen (19) claims were identified as responsive.                        In order

to locate all FTCA files identified, I searched the NCR file

room for those FTCA claim files that were still stored in our

office and had not been shipped to the FRC.                      All FTCA claims

for 2003, were still in the NCR file room, filed numerically

by claim number.          Twenty-one (21) of the ninety-eight files

were located in the NCR file room and the responsive documents

(claim form (SF-95), and proof of payment, voucher for payment

form,    etc.)    were copied for submission as responsive.                       The

remaining FTCA files required retrieval from the FRC.                             The

Regional Counsel's office in the NCR maintains a hard bound

logbook for all archived legal                  files      (litigation and FTCA

files)    mailed     to   the   FRC,     since 1999.            Both the    archive

logbook     and    correspondence            from    the   FRC    identifies      the

location of each file stored at the FRC for each separate

year.    A reference request (Form 11) was submitted to the FRC,

listing the box number or specific file to retrieve and mail

to our office.       Once these records were received from FRC, the

responsive        documents     (claim        form    (SF-95),     and    proof    of

payment,    voucher       for   payment       form,     etc.)    were    copied for

submission as responsive.               Only one (1) FTCA file identified

as responsive,       dated in 2001, could not be located.                    It was

not listed in the archive logbook as mailed to the FRC nor

found in the NCR file room.             Once these cases were identified,


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it was determined that two                   (2)   litigation case files were

located in the NCR file room and thirty-three (33) litigation

case    files     were    stored    at       the   FRC.      The    NCR   file     room

maintains all closed litigation files by the year of the date

closed, in alphabetical order for that year.                       The thirty-three

case files were requested from the FRC for review to determine

if any records responsive were located in the case file.                           Both

the     archive        logbook   and      correspondence           from    the     FRC,

identified the location of each litigation file stored at the

FRC for each separate year.               A reference request (Form 11) was

submitted to the FRC listing the box number or specific file

to retrieve and mail to our office.                       Additionally, the NCR

contacted each Consolidated Legal Center (CLC) for assistance

in searching any of their litigation files for the remaining

files which may contain responsive records to those files

which were not located in the NCR file room or at the FRC.

CLC staff located six (6) of the litigation case files.                             Once

these records were received from the NCR file room,                              FRC and

the CLC, the responsive documents (complaint, stipulation or

order    revealing        verdict      or      settlement)     were       copied     for

submission        as    responsive.           Of    the   fifty-one       (51)     cases

identified,        forty-one       (41)      cases    were    located      and     their

subsequent responsive records were provided for submission.

Responsive records could not be located for one (1) FTCA file


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     dated in 2001,         nine    (9)    litigation files closed prior to

     1999, were not located, and one (1) litigation file closed in

     2003, was not located by the NCR, CLC or FRC.                       In 1999, the

     Regional    Counsel's       office     for    the   NCR    began    storing       all

     archived litigation files and FTCA files with the FRC.                       Prior

     to that time,        the storage area for all archived files was

     located in a        basement of a           building at the United States

     Penitentiary        (USP)     in     Leavenworth,      Kansas.         The     nine

     litigation files closed prior to 1999, would have been stored

     at USP Leavenworth.           In 1999, USP Leavenworth suffered flood

     damage to the building where Regional Legal files were stored.

         These files were damaged beyond repair and were subsequently

     destroyed.



6.   Based upon my review of LAWPACK, dBase, and Monthly Reports,

     I    determined that all responsive claims maintained in the

     North Central Region had been identified.                    LAWPACK, dBase and

     the Monthly Reports were the only source that would reveal

     responsive documents maintained in the North Central Region.



7.   Based upon the list created as a                    result    of my review of

     LAWPACK,     dBase    and     the    Monthly    Reports,      I    retrieved      and

     forwarded     the     responsive        documents     as     described       in    my

     declaration dated October 7, 2008, to Wilson Moorer in their


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     original form.      As I was not the processor, I did not redact

     the documents or apply any exemptions.



I declare under the penalty of perjury and pursuant to Title 28

u.s.c.   §   1746 that the foregoing is true and correct to the best of

my knowledge and belief.
                           ~
     Executed this         ~      day of April, 2010.




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